  'A024SB      (Rev. 06/05) Judgment in a Criminal Case
         Case 2:10-cr-00281-SJF-ARL Document 461 Filed 03/26/14 Page 1 of 6 PageID #: 1652
'========~S~h~~~~==========================================================================
                                          UNITED STATES DISTRICT COURT
                        EASTERN                                   District of                             NEW YORK
          UNITED STATES OF AMERI(P.!! I;['                                    JUDGMENT IN A CRIMINAL CASE
                                 v.
                             lt 1 :::· ,' .,,,. '· ( ' , - ' '•'"';·
                                      us ~~.,~,I,;·;.                  "' y
                                                                              Case Number:                       CR-10-28l(S-3)-07
                     MICHAELD~
                                                                       *      USM Number:                        76377-053

                                           LONG ISL.AND OFFilSI'EVEN LOSOUANDRO, ESO.
 THE DEFENDANT:                                                               Defendant's Attorney


 X pleaded guilty to count(s)         EIGHT (8) AND NINE (9) OF THIRD SUPERSEDING INDICTMENT

 D pleaded nolo contendere to count(s)
   which was accepted by the court.
 0 was found guilty on count(s)

   after a plea of not guilty.

 The defendant is adjudicated guilty ofthese offenses:

Title & Section                   Nature of Offense                                                              Offense Ended        Count
18 U.S.C. 1959(a)(4)              THREATENING TO COMMIT A CRIME OF VIOLENCE IN                                   3/5/2009        EIGHT (8) (S-3)
                                  AID OF RACKETEERING
18 u.s.c.
924(cXA)(l)(iii)                  DISCHARGE OF A FIREARM DURING A CRIME OF                                       3/5/2009
                                  VIOLENCE                                                                                        NINE (9) (S-3)




       The defendant is sentenced as provided in pages 2 through              _ _,6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
                ALL UNDERLYING
X Count(s)      INDICTMENTS AND COUNT                       is    X are dismissed on the motion of the United States.
                ONE (I) (S-3)

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgmeut are fully paid. If ordered to pay restitution,
the defenilant must notify the court and United States attorney of material changes in economic circmnstances.

                                                                              MARCH 20.2014
                                                                              Date of Imposition }i Judgolell!

                                                                              s/ Sandra J. Feuerstein
                                                                              Signatu~ofJudge




                                                                              SANDRA J. FEUERSTEIN, U.S.D.J.
                                                                              Name and Title of Judge


                                                                              MARCH 26, 2014
_ _ _ _ _ ___._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date
AO 2458 Case    2:10-cr-00281-SJF-ARL
         (Rev. 06/05) Judgment in Criminal Case     Document 461 Filed 03/26/14 Page 2 of 6 PageID #: 1653
         Sheet 2 - Imprisonment
                                                                                                    Judgment- Page        · 2   of   6
  DEFENDANT:                MICHAEL DIAZ
. CASE NUMBER:              CR-1 0-281 (S-3)-07


                                                          IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

 COUNT EIGHT (8): ONE (I) YEAR; COUNT NINE (9): SIXTY (60) MONTHS TO BE SERVED CONSECUTIVE TO
 THE TERM IMPOSED ON COUNT EIGHT (8).


       0 The court makes the following recommendations to the Bureau of Prisons:




       X The defendant is remanded to the custody of the United States Marshal.

       0 The defendant shall surrender to the United States Marshal for this district:
          0 at - - - - - - - - - 0 a.m.                          p.m.     on

          0 as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D before 2 p.m. on
          0 as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                        to


  at   - - - - - - - - - - - - - - , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL



                                                                         BY-------~~~~~~~~~.-------­
                                                                                 DEPUTY UNITED STATES MARSHAL
           Case 2:10-cr-00281-SJF-ARL Document 461 Filed 03/26/14 Page 3 of 6 PageID #: 1654
AO 245B        (Rev. 06/05) Judgment in a Criminal Case
               Sheet 3   Supervised Release

                                                                                                           Judgment   Page           of
DEFENDANT:                      MICHAEL DIAZ
CASE NUMBER:                    CR-I0-28l(S-3)-07
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:


COUNT EIGHT (8): THREE (3) YEARS; COUNT NINE (9): FIVE (5) YEARS.


     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully P'!Ssess a controlled S\)b~tance. The defendant shal.l refi:ain from anx unlawful use of a controlled
substance. The defendant shall submit to one drug test w1thm 15 days of release from unpnsonment anti at least two periodic drug tests
thereafter, as determined by the court.
0        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
0        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
0        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
0        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled sulistances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any Qersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
11)       the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a Jaw enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
13)       as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
          record or ,l!ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
       Case 2:10-cr-00281-SJF-ARL Document 461 Filed 03/26/14 Page 4 of 6 PageID #: 1655
AO 2458    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 3A -Supervised Release

                                                                                            Judgment   Page
DEFENDANT:                MICHAEL DIAZ                                                                             of - - - ' ' - - -
CASE NUMBER:              CR-10-281(S-3)-07

                                    ADDITIONAL SUPERVISED RELEASE TERMS

I. The defendant shallJ?articipate in an outpatient and/or inpatient drug treatment or detoxification program
approved ~y the Probation Department. Tlie defendant shall pay the costs of such treatment/detoxification to the
degree.he IS reasonably.ab~e, and s~all cooperate in securing any applicable third-party payment. The defendant
shall disclose all financial mformation and documents to the ProbatiOn Department to assess his ability to pay. The
defendll!lt ~hall not ~onsume any. a!cohol or other intoxicants. durin!~ or after treatment/detoxification, unless granted
a prescnphon by a licensed physiCian and proof of the same IS provided to the Probation Department. The
defendant shall submit to testing during and after treatment to ensure abstinence from drugs and alcohol.
2. The defendant shall not associate in person, through mail, electronic mail or telephone with any individual with an
affiliation to any organized crime groups, gangs or any other criminal enterprise; nor shall the defendant frequent any
establishment, or other locale where these groups may meet pursuant, but not limited to, a prohibition list provided liy the
Probation Department.
3. For a period of 6 months, the defendant shall comply with a curfew via electronic monitoring as directed by the
U.S Probation Department. The defendant will remam at his place of residence from 7 p.m. to 7 a.m. The
Probation Department may designate another respective time period, if the defendant's employment, education, or
observance of religious services preclude the above specified times. The curfew via electronic monitoring shall
commence on a date approved by the Probation Department. During the curfew period, the defendant shall wear an
electronic monitoring bracelet or similar tracking device and follow all reguirements and procedures established for
the curfew via electronic monitoring by the Probation Department. In addition the defendant shall pay all costs,
including the price of the electronic monitoring equipment, to the degree he is reasonably able. The defendant shall
disclose all financial information and documents to the Probation Department to assess his ability to pay.
4. The defendant shall maintain full time verifiable employment and/or shall participate in an education or vocational
training program as approved by the U.S. Probation Department.
5. The defendant shall submit his person, residence, place of business, vehicle or any other premises under his
control to a search on the basis that the probation officer has reasonable belief that contraband or evidence of a
violation of the conditions of supervised release may be found. The search must be conducted in a reasonable
manner and at a reasonable time. The defendant's failure to submit to a search may be grounds for revocation. The
defendant shall inform any other residents that the premises may be subject to search pursuant to this condition.
~ AO 245B   Case
              (Rev. 2:10-cr-00281-SJF-ARL
                    06/05) Judgment in a Criminal Case Document 461 Filed 03/26/14 Page 5 of 6 PageID #: 1656
              Sheet 5       Criminal Monetary Penalties

                                                                                                                Judgment   Page             of
  DEFENDANT:                             MICHAEL DIAZ
  CASE NUMBER:                           CR-J0-281(S-3)-07
                                                     CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                             Assessment                                        Fine                                   Restitution
  TOTALS                $          200.00                                     $ 0                                  $ 0


  0   The determination of restitution is deferred until _ _ _. An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 ·0   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priori!)' order or percentage payment column below. However, pursuant to 18lJ.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

  Name of Payee                                       Total Loss•                      Restitution Ordered                        Priority or Percentage




  TOTALS                                    $. _ _ _ _ _ ___;0~                     $ _____________0~


  0    Restitution amount ordered pursuant to plea agreement $ - - - - - - - - - -

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(!). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

  0    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             the interest requirement is waived for the              0 fine         restitution.

       0 the interest requirement for the                 0   fine    D   restitution is modified as follows:
AO 2458 Case   2:10-cr-00281-SJF-ARL
         (Rev. 06/05) Judgment in a Crimina] Case    Document 461 Filed 03/26/14 Page 6 of 6 PageID #: 1657
         Sheet 6 -Schedule of Payments
                                                                                                         Judgment- Page _     _,6_ of --2.6_ __
DEFENDANT:                 MICHAEL DIAZ
CASE NUMBER:               CR-1 0-281(8-3)-07

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     X    Lump sum payment of$ _2::;0:<>0:.::.0"-'0'------ due immediately, balance due

           0    not later than --=---::,.---:::--:::---::::::- , or
           0    in accordance       0 C, 0 D, 0                  E, or      0 F below; or
B     0    Payment to begin immediately (may be combined with            oc.         0 D, or      0 F below); or
C     D Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                          (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or
E     D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal mone~ penalties is due during
imprisonment. All cnminal monetary penalties, except !hose payments made througn the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

0     The defendant shall forfeit the defendant's interest in the following property to the United States:




Paytnents shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
